Case 1:23-cv-00595-JPH-KMB Document 122 Filed 02/13/24 Page 1 of 1 PageID #: 4811




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  K.C., et al.,

                          Plaintiffs,

                   v.                                        No. 1:23-cv-00595-JPH-KMB

  THE INDIVIDUAL MEMBERS OF THE
  MEDICAL LICENSING BOARD OF
  INDIANA, in their official capacities, et al.,

                          Defendants.

                                               ORDER

          The parties having filed their Joint Motion to Adjourn Case Management
  Deadlines and Continue Final Pretrial Conference and Trial, and the Court having read the
  filing, and being duly advised, now grants the Joint Motion. [Dkt. 117.]

          IT IS THEREFORE ORDERED that the following are the new deadlines in this case:

         • Nonexpert discovery closes on June 3, 2024.
         • Plaintiffs serve expert disclosures by July 5, 2024.
         • Defendants serve expert disclosures by August 5, 2024.
         • Plaintiffs serve any rebuttal expert disclosures by August 26, 2024.
         • Parties serve final witness and exhibit lists by September 3, 2024.
         • Plaintiffs’ motion for summary judgment must be filed by September 3, 2024.
         • Defendants’ motion for summary judgment and response to Plaintiffs’ motion for
            summary judgment must be filed by October 3, 2024.
         • Plaintiffs’ response to Defendants’ motion for summary judgment and reply in support
           of Plaintiffs’ motion for summary judgment must be filed by November 4, 2024.
         • Defendants’ reply in support of Defendants’ motion for summary judgment must be
           filed by November 25, 2024.

             The final pretrial conference and trial have already been reset via separate order.


                Date: 2/13/2024



  Distribution:
  All electronically registered counsel
